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                              UNITED STATES DISTRICT COURT
      10                     CENTRAL DISTRICT OF CALIFORNIA
      11
      12    Dwain Lammey,                             Case: 2:18-CV-09751-SJO-AGR
      13               Plaintiff,
                                                      Plaintiff’s Motion For Summary
      14       v.                                     Judgment
      15    Bang Ja Kim, in individual and
            representative capacity as Successor
      16    Trustee of the Mr. And Mrs Yong            Date: February 24, 2020
            Bai Kim And Bang Ja Kin, Joint             Time: 10:00 a.m.
      17    Revocable Living Trust;                    Ctrm: 10C (10th Floor)
            O'Reilly Auto Enterprises, LLC, a
      18    Delaware Limited Liability
            Company; and Does 1-10;
      19
      20
                       Defendants.                     Hon. Judge S. James Otero

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           Plaintiff’s Motion for Summmary Judgment      Case: 2:18-CV-09751-SJO-AGR
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                                                 iii
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       1           MEMORANDUM OF POINTS AND AUTHORITIES
       2
       3                   I. PRELIMINARY STATEMENT
       4         Plaintiff Dwain Lammey, a quadriplegic and a wheelchair user,
       5   has brought this action because Defendants Bang Ja Kim and O'Reilly
       6   Auto Enterprises, LLC (‘Defendants’) failed to provide accessible
       7   service counter at the O’Reilly Auto Parts (“Store”) in violation of the
       8   Americans with Disabilities Act (“ADA”). In this motion, Plaintiff seeks
       9   an injunction under ADA against Defendants O’Reilly Auto Enterprises,
      10   LLC and Bang Ja Kim, the current owners of the Store and real property,
      11   requiring them to provide and maintain an accessible service counter at
      12   the Store. Plaintiff respectfully requests this Court grant his motion.
      13
      14                         II. RELEVANT FACTS
      15         Dwain Lammey is a quadriplegic who cannot walk and who uses a
      16   wheelchair for mobility.1 The O’Reilly Auto Parts (“Store”) is located at
      17   or about 7224 S. Vermont Avenue, Los Angeles, California.2 The Store
      18   is a business establishment and place of public accommodation.3
      19   Defendant O’Reilly Auto Enterprises, LLC is currently the owner and
      20   operator of the Store and was so in November 2018.4 Defendant Bang Ja
      21   Kim is currently the owner of the property on which the Store is located
      22   and was so in November 2018.5
      23
      24
      25
      26   1
             SUF #1.
           2
             SUF #2.
      27   3
             SUF #3.
           4
      28     SUF #4.
           5
             SUF #5.

                                                 1
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       1         On November 8, 2018, Mr. Lammey went to the Store to order
       2   brake pedal covers.6 When Mr. Lammey entered the Store, he saw that
       3   there were two sales and service counters—one counter where you
       4   request and order the parts you are looking for and one where you check
       5   out and pay. Mr. Lammey looked for the lowered portion of the service
       6   counter in the area of the store where you order your parts or what is
       7   sometimes called the “wheelchair counter.” But there was no lowered
       8   counter or portion of this service counter.7 Mr. Lammey is very familiar
       9   with lowered, wheelchair counters that are 36 inches high. He uses them
      10   all the time. The service counter where you order parts was much higher
      11   than the lowered, wheelchair counter that he needs and he could not find
      12   any lowered counter space in this area of the store.8
      13         Having to handle his transactions on a higher counter creates
      14   difficulty and discomfort for Mr. Lammey. Handling his transactions at
      15   anywhere between 30 and 36 inches is ideal for him. As the height of the
      16   surface—where he places items, receives items, places his wallet, signs
      17   receipts—is raised, he experiences an increase in difficulty because he is
      18   now forced to handle those transactions at chest level or higher, forcing
      19   his arms higher. This is discomforting. And that was Mr. Lammey’s
      20   experience here at the Store when he ordered brake pedal covers.9
      21         On November 14, 2018, Evens Louis, an investigator for the
      22   plaintiff, conducted an investigation of the Store.10 During his
      23   investigation, Mr. Louis found that there was a separate service counter
      24
      25
      26   6
             SUF #6.
           7
             SUF #7
      27   8
             SUF #8.
           9
      28     SUF #9.
           10
              SUF #10.

                                                 2
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       1   used for ordering auto parts.11 Mr. Louis measured the height of the
       2   service counter to be approximately 42 inches high.12 There was no
       3   lowered portion of the service counter for use by persons in
       4   wheelchairs.13
       5          Mr. Lammey is currently deterred from visiting the Store because
       6   of his knowledge of the condition of the service counter.14 Once there is
       7   a lowered service counter at the Store, he plans to visit the Store again to
       8   order auto parts whenever the need arises. The Store is located less than
       9   three miles away from Mr. Lammey’s home; therefore, it is a convenient
      10   place for him to do so.15 Additionally, Mr. Lammey is an active ADA
      11   litigator and will also return to the Store to assess compliance with
      12   disability access laws.16
      13
      14                          III. LEGAL STANDARD
      15          Pursuant to section 56 of the Federal Rules of Civil Procedure, a
      16   party can bring a motion for summary judgment where there is no
      17   genuine dispute as to any material fact. Motions for summary judgment
      18   are not “disfavored.”17 In the present case, there can be no genuine
      19   dispute over the facts of the case and those facts inform the court and the
      20   parties that it would be a waste of judicial resources for this case to
      21   proceed to trial. There is no genuine issue of material fact and this court
      22   should grant the Plaintiff’s motion.
      23
      24
           11
      25      SUF #11.
           12
              SUF #12.
      26   13
              SUF #13.
           14
              SUF #14.
      27   15
              SUF #15.
           16
      28      SUF #16.
           17
              Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).

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       1         IV. THE LACK OF ACCESSIBLE FACILITIES
       2         Under Title III of the Americans With Disabilities Act of 1990
       3   (“ADA”), the general rule is that: “No individual shall be discriminated
       4   against on the basis of a disability in the full and equal enjoyment of the
       5   goods, services, facilities, privileges, advantages, or accommodations of
       6   any place of public accommodation by any person who owns, leases (or
       7   leases to), or operates a place of public accommodation.”18 The term
       8   “discrimination” can be misleading. The ADA applies not just to
       9   intentional discrimination but to thoughtlessness and indifference:
      10
                 Its passage was premised on Congress's finding that
      11
                 discrimination against the disabled is most often the
      12
                 product,    not   of   invidious    animus,    but   rather   of
      13
                 thoughtlessness and indifference, of benign neglect, and of
      14
                 apathetic attitudes rather than affirmative animus. The
      15
                 concept of “discrimination” under the ADA does not extend
      16
                 only to obviously exclusionary conduct—such as a sign
      17
                 stating that persons with disabilities are unwelcome or an
      18
                 obstacle course leading to a store's entrance. Rather, the
      19
                 ADA proscribes more subtle forms of discrimination—such
      20
                 as difficult-to-navigate restrooms and hard-to-open doors—
      21
                 that interfere with disabled individuals' “full and equal
      22
                 enjoyment” of places of public accommodation. 19
      23
      24         To succeed on his Title III, ADA claim, “a plaintiff must show
      25   that: (1) he is disabled within the meaning of the ADA; (2) the defendant
      26
      27   18
              42 U.S.C. § 12182(a).
           19
      28      Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 944-45 (9th Cir. 2011)
           (internal quotes and citations removed for readability).

                                                 4
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       1   is a private entity that owns, leases, or operates a place of public
       2   accommodation; and (3) the plaintiff was denied public accommodations
       3   by the defendant because of his disability.”20 “The third element—
       4   whether plaintiffs were denied public accommodations on the basis of
       5   disability—is met if there was a violation of applicable accessibility
       6   standards.”21 This is because discrimination is defined both as either a
       7   failure to ensure that alterations are “readily accessible to and useable by
       8   persons with disabilities” and, where there are no alterations, “a failure
       9   to remove architectural barriers…in existing facilities…where such
      10   removal is readily achievable.”22 Thus, the following is a simplified
      11   statement of the elements necessary for the plaintiff to prove
      12   discrimination under this section:
      13        1. Plaintiff must be disabled.23
      14        2. The defendants’ facility must be a place of "public
      15           accommodation" and, therefore, governed by Title III of the ADA
      16           Id.;
      17        3. The defendants must be responsible parties, i.e., owners,
      18           operators, lessors or lessees. Id.;
      19        4. The defendants’ facility must have either undergone an alteration
      20           that did not comply with the access standards or contain an easily
      21           removed barrier that the defendants failed to remove.24 Plaintiff
      22
      23
      24
           20
      25      Arizona ex rel. Goddard v. Harkins Amusement Enterprises, Inc., 603 F.3d 666,
           670 (9th Cir. 2010).
      26   21
              Moeller v. Taco Bell Corp., 816 F.Supp.2d 831, 847 (N.D. Cal. 2011) citing,
           Chapman, 631 F.3d at 945.
      27   22
              42 U.S.C. §§ 12183(a)(2); 12182(b)(2)(A)(iv).
           23
      28      42 U.S.C. § 12182(a);
           24
              42 U.S.C. §§ 12183(a)(2); 12182(b)(2)(A)(iv);

                                                 5
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     1             must have actually encountered this non-removed and unlawful
     2             barrier.25
     3   As discussed below, Mr. Lammey’s civil rights were violated because
     4   the Defendants failed to provide accessible facilities at the Store.
     5   Plaintiff will discuss each element, seriatim.
     6
     7        A.         Plaintiff is Disabled
     8             Mr. Lammey has severe mobility impairments. He cannot walk
     9   and he uses a wheelchair for mobility.26 Thus, there can be little doubt
    10   that he fits the qualification under the Americans with Disabilities Act as
    11   a person with a disability.27 Given Mr. Lammey’s inability to walk, this
    12   is not a genuine issue.
    13
    14        B.      Defendants Own and Operate a Place of Public
                      Accommodation
    15
                   The O’Reilly Auto Parts store is a public accommodation, which
    16
         Defendants admit.28 Additionally, retails establishments are specifically
    17
         identified as places of public accommodation.29 Defendant O’Reilly
    18
         Auto Enterprises, LLC is currently the owner and operator of the Store
    19
         and was so in November 2018.30 Defendant Bang Ja Kim is currently the
    20
         owner of the property on which the Store is located and was so in
    21
         November 2018.31 The Defendants, therefore, have an obligation to
    22
    23
    24   25
            42 U.S.C. § 12188(a).
         26
    25      SUF #1.
         27
            42 U.S.C. § 12102(2)(A) (defining a physical impairment substantially affecting a
    26   major life activity as qualifying as a disability).
         28
            SUF #3; Answer of Defendants (ECF No. 11), ¶ 11.
    27   29
            See 42 U.S.C. § 12181(7)(E).
         30
    28      SUF #4; Answer of Defendants (ECF No. 11), ¶¶ 4 & 5.
         31
            SUF #5.

                                               6
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     1   comply with the anti-discrimination provisions of Title III of the
     2   Americans with Disabilities Act.
     3
     4
              C.      The Store Had Barriers That Were Readily Removed
                   The ADA defines “discrimination” as a failure to remove
     5
         architectural barriers where it is readily achievable to do so. 42 U.S.C. §
     6
         12182(b)(2)(A)(iv). The term “barrier” is not defined in the Act itself but
     7
         is defined in the Technical Assistance Manual:
     8
     9
                   III-4.4100: What is an architectural barrier? Architectural
    10
                   barriers are physical elements of a facility that impede
    11
                   access by people with disabilities. These barriers include
    12
                   more than obvious impediments such as steps and curbs that
    13
                   prevent access by people who use wheelchairs.32
    14
    15             Case law is more specific. “To determine if Plaintiff describes an
    16   ‘architectural barrier’ the Court must turn to the ADA Accessibility
    17   Guidelines for Buildings and Facilities (“ADAAG”). If an element does
    18   not meet or exceed ADAAG standards, it is considered a barrier to
    19   access.”33 “Any element in a facility that does not meet or exceed the
    20   requirements set forth in the ADAAG is a barrier to access.” (identifying
    21   this as the formal position of the Department of Justice).34 These are
    22   “objective” and “precise” standards and “the difference between
    23   compliance and noncompliance” is “often a matter of inches.”35
    24
    25   32
             Department of Justice, Technical Assistance Manual on the American with
    26   Disabilities Act (BNA) §§ III-4.4100 (1991).
         33
            Rush v. Denco Enterprises, Inc., 857 F. Supp. 2d 969, 973 (C.D. Cal. 2012)
    27
         (internal cites omitted).
         34
    28      Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 945 (9th Cir. 2011)
         35
            Id.

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     1
               1.     Lack of accessible service counter
     2
               Under the 2010 Standards, where the approach to a sales or service
     3
          counter is a parallel approach, such as in this case, there must be a
     4
          portion of the sales counter that is no higher than 36 inches above the
     5
          floor and 36 inches in width that extends the same depth as the rest of
     6
          the sales or service counter top.36 Additionally, the 2010 Standards
     7
          require that “[w]here provided, at least one of each type of sales counter
     8
          and service counter shall comply with 904.4.”37
     9
                 Here, there is a service counter at the Store that is used to order
    10
          parts and a sales counter that is used for customers to check-out and pay
    11
          for their items.38 On the date of Mr. Lammey’s visit, he found that there
    12
          was no lowered portion of the parts counter available for him to use.39
    13
          During his subsequent investigation, Mr. Louis confirmed that the parts
    14
          counter measured 42 inches high.40 Because there are two types of
    15
          counters offered at the Store, one of each must be accessible. Thus,
    16
          Defendants’ failure to provide a lowered service counter for ordering
    17
          parts is a violation of the ADA.
    18
    19
         V. THE LACK OF COMPLIANT FACILITIES IS UNLAWFUL
    20
                                 UNDER CALIFORNIA LAW
    21
                 The Unruh Civil Rights Act provides that “a violation of the right
    22
          of any individual under the Americans with Disabilities Act of 1990 shall
    23
          also constitute a violation of this section.” Civ. Code § 51 (f). “A
    24
          violation of the ADA is, by statutory definition, a violation of both the
    25
    26    36
             28 C.F.R., Part 1191, Appendix D § 904.4 & 904.4.1.
          37
             28 C.F.R., Part 1191, Appendix B § 227.3.
    27    38
             SUF #7-9, 11.
          39
    28       SUF #7-9.
          40
             SUF #11.

                                                8
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     1   Unruh Act and the DPA.”41 “Because the Unruh Act is coextensive with
     2   the ADA and allows for monetary damages, litigants in federal court in
     3   California often pair state Unruh Act claims with federal ADA claims.”42
     4             As discussed above under section “IV”, defendants violated the
     5   ADA. Thus, there has been a per-se violation of Unruh.
     6
     7                                VI. REMEDIES
     8             Because Defendants violated the ADA and the Unruh Civil Rights
     9   Act, Plaintiff is entitled to seek injunctive relief and a statutory penalty.
    10
              A.         Plaintiff is Entitled to Injunctive Relief Under the ADA
    11
                   Under the ADA, the plaintiff is entitled to injunctive relief.43 Such
    12
         injunctive relief “shall include an order to alter facilities to make such
    13
         facilities readily accessible to and useable by individuals with
    14
         disabilities” to the extent required by the ADA.44 “We have found actual
    15
         or imminent injury sufficient to establish standing where a plaintiff
    16
         demonstrates an intent to return to the geographic area where the
    17
    18
         accommodation is located and a desire to visit the accommodation if it

    19
         were made accessible.”45 Additionally, in Civ. Rights Educ., the Ninth

    20   Circuit has held that ADA plaintiffs have “tester” standing, finding that
    21   “as a matter of first impression, a plaintiff suing under Title III of the
    22   ADA can claim tester standing; plaintiffs' status as testers, rather than
    23   bona fide hotel patrons, [does] not deprive them of standing.”46
    24
         41
    25      Cullen v. Netflix, Inc., 880 F.Supp.2d 1017, 1023 (N.D. Cal. 2012).
         42
            Molski, 481 F.3d at 731.
    26   43
            42 U.S.C. § 12188(a).
         44
            Id. at 12188(a)(2).
    27   45
            D'Lil v. Best Western Encina Lodge & Suites, 538 F.3d 1031, 1037 (9th Cir. 2008).
         46
    28      Civ. Rights Educ. and Enf't Ctr. v. Hosp. Properties Tr., 867 F.3d 1093, 1096 (9th
         Cir. 2017).

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     1
     2              Here, Mr. Lammey has standing to seek injunctive relief with
     3   respect to the inaccessible service counter at the Store, which he
     4   personally encountered. Mr. Lammey lives less than three miles away
     5   from the Store and has stated his intention to return to the Store once the
     6   barriers are removed to shop for auto parts whenever the need arises, as
     7   well as to assess the store for compliance with access laws.47
     8
              B.        Plaintiff is Entitled to a Statutory Penalty Under the
     9                  UCRA
    10              Statutory damages can be recovered for a violation of the Unruh
    11   Civil Rights Act “if the violation denied the plaintiff full and equal
    12   access to the place of public accommodation on a particular occasion.” A
    13   denial of full and equal access takes place where a plaintiff “personally
    14   encountered” the violation and it resulted in “difficulty, discomfort or
    15   embarrassment.”48 Under the Civil Code, the plaintiff is entitled to
    16   recover a statutory penalty for “each offense” (Cal. Civ. Code § 52(a))
    17   which has been defined as “each particular occasion that the plaintiff
    18   was denied full and equal access…”49 Here, Mr. Lammey personally
    19   encountered the access standards violations during his visit on
    20   November 8, 2018 and they caused him difficulty and discomfort.50
    21             Moreover, the Unruh Civil Rights Act provides that “a violation of
    22   the right of any individual under the Americans with Disabilities Act of
    23   1990 shall also constitute a violation of this section.”51 Under the ADA,
    24   the non-discrimination mandate applies to anyone who “owns, leases (or
    25
    26   47
            SUF # 15, 16.
         48
            Cal. Civ. § 55.56(b).
    27   49
            Cal. Civ. Code § 55.56(e).
         50
    28      SUF #6-9.
         51
            See Cal. Civ. Code § 51(f).

                                               10
         Plaintiff’s Motion for Summary Judgment         Case: 2:18-CV-09751-SJO-AGR
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     1   leases to), or operates a place of public accommodation.”52 The Code of
     2   Federal Regulations implementing Title III of the ADA states: “Both the
     3   landlord who owns the building . . . and the tenant who owns or operates
     4   the place of public accommodation are public accommodations subject
     5   to the requirements of this part.”53 As is often the case, the Technical
     6   Assistance Manual reduces this to plain language: “Both the landlord
     7   and the tenant are public accommodations and have full responsibility
     8   for complying with all ADA title III requirements . . . any allocation
     9   made in a lease or other contract is only effective as between the parties,
    10   and both landlord and tenant remain fully liable for compliance with all
    11   provisions     of    the    ADA       relating    to    that    place     of   public
    12   accommodation.”54 And the Ninth Circuit has confirmed this
    13   understanding, adding the comment that: “The legislative history
    14   confirms that a landlord has an independent obligation to comply with
    15   the ADA . . . .”55 In fact, because these statutory damages are penalties—
    16   and not compensatory—standard damages doctrines, such as mitigation,
    17   have no applicability.56 In the present case, the plaintiff is seeking to
    18   have a penalty assessed against each of the responsible parties, i.e., the
    19   property owners (Defendant Kim) and the business operator (Defendant
    20   O'Reilly Auto Enterprises, LLC).
    21          The Ninth Circuit had the opportunity to review a district court’s
    22   assessment of penalties against multiple parties in Lentini v. California
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         52
    25      See 42 U.S.C. § 12182(a).
         53
            28 C.F.R. § 36.201(b)(emphasis added).
    26   54
            U.S. Dept. of Justice, Civil Rights Division, the American with Disabilities Act:
         Title III Technical Assistance Manual § 1.2000 (1993) (emphasis added).
    27   55
            Botosan v. Paul McNally Realty, 216 F.3d 827, 833 (9th Cir. 2000) (emphasis
    28   added).
         56
            Langer v. McHale, 2014 WL 5422973, at *4 (S.D. Cal. 2014).

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     1   Center for the Arts.57 In Lentini, the disabled plaintiff had a small, black
     2   Shih Tzu/Poodle mix named Jazz that functioned as a service animal and
     3   that was denied entrance to the theater.58 Invoking the ADA and Unruh
     4   Civil Rights Act, Lentini named three defendants: (1) the Center; (2)
     5   Alan Corbin, the House Manager, and (3) Randall Vogel, the Director of
     6   Center Sales and Event Services.59 Following a bench trial, the late
     7   Honorable Napoleon Jones found joint and several and individual
     8   liability and assessed penalties against all three defendants for the
     9   discriminatory treatment of Lentini.60 On appeal, the Ninth Circuit
    10   upheld the award, noting that “both Corbin and Vogel [were] liable
    11   under the ADA as ‘operators’ of a place of public accommodation.”61
    12          Thus, a civil penalty can be assessed against each law-breaking
    13   defendant. Both the property owners (Defendant Kim) and the business
    14   operator (Defendant O'Reilly Auto Enterprises, LLC) had independent
    15   obligations to comply with the ADA and neither fulfilled those
    16   obligations. Both entities were responsible and both failed to honor their
    17   respective obligations. The statutory scheme is clear. Recovery of
    18   penalties against each does not constitute double recovery because these
    19   are not compensatory damages. These are statutory penalties and
    20   properly assessed against each, regardless of the fact that the other has
    21   also been penalized for its misconduct.
    22   //
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    26   57
            Lentini v. California Center for the Arts, Escondido, 370 F.3d 837 (9th Cir. 2004).
         58
            Id. at 839-40.
    27   59
            Id. at 841.
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    28      Id. at 842-43.
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            Id. at 849.

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     2                          VII. CONCLUSION
     3         For the foregoing reasons, Plaintiff respectfully requests this
     4   Court grant his motion.
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     6
     7   Dated: January 20, 2020          CENTER FOR DISABILITY ACCESS
     8
     9                                       By: /s/ Isabel Rose Masanque
    10                                           Isabel Rose Masanque
                                                 Attorneys for Plaintiff
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